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12
13                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
14
      DANIEL KISSICK, individually and on         Case No. 2:19-cv-01460-MWF-SS
15
      behalf of all others similarly situated,
16                                                ORDER RE STIPULATION TO
                                Plaintiff,        CONTINUE MOTION HEARING
17          v.                                    AS TO DEFENDANT’S MOTION
                                                  TO DISMISS
18
      AMERICAN RESIDENTIAL                        Current Date: June 24, 2019
19    SERVICES, LLC,
20                                                Proposed Date: July 15, 2019
                                Defendant.
21                                                Time: 10:00 a.m.
                                                  Courtroom: 5A
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23                                                Hon. Michael W. Fitzgerald

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28   ORDER RE STIPULATION TO CONTINUE MOTION HEARING
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1                                            ORDER
2          At the Parties’ stipulation and request, the Motion Hearing as to Defendant’s
3    (1) Motion to Dismiss or (2) In the Alternative, Transfer Venue to the Western
4    District of Tennessee, or (3) In Further Alternative, motion to dismiss allegations of
5    non-California Putative Class Members (ECF No. [14]) (“Motion”) set for
6    6/24/2019 is VACATED and RESET for 7/15/2019 at 10:00 AM in Courtroom 5A
7    before District Judge Michael W. Fitzgerald. Pursuant to the parties’ agreement,
8    Motion related briefing deadlines are reset as follows: (1) Plaintiff shall file a
9    response by June 17, 2019 and (2) Defendant shall file any reply by July 1, 2019.
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12   Dated: May 31, 2019
                                                   HON. MICHAEL W. FITZGERALD
13                                                 UNITED STATES DISTRICT JUDGE
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28   [PROPOSED] ORDER RE STIPULATION TO CONTINUE MOTION HEARING                               1
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